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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   BERNADEAN RITTMANN, et al.,                               CASE NO. C16-1554-JCC
10
                                Plaintiffs,                    ORDER
11
        v.
12
     AMAZON.COM, INC., et al.,
13
                                Defendants.
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15           This matter comes before the Court on Defendants’ motion to compel discovery (Dkt.
16   No. 300). Having thoroughly considered the briefing and relevant record, the Court GRANTS
17   the motion for the reasons described below.
18           The Court has described the relevant background of this case previously, (see, e.g., Dkt.
19   Nos. 115, 293), and will not repeat that information here. Now that the Court has lifted the stay
20   in this matter and set a briefing schedule for an anticipated motion for conditional class
21   certification, amongst other motions, (see Dkt. No. 298 at 1–2), Defendants renew their request
22   for discovery from six non-arbitration opt-in Plaintiffs, (see Dkt. No. 300 at 9). Plaintiffs’
23   counsel declined those requests, asserting that production from opt-in Plaintiffs, of any kind, is
24   not appropriate until such time as the Court conditionally certifies a class and allows for notice
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 1   and a formal opt-in process, as provided by the Fair Labor Standards Act. 1 (See Dkt. No. 281 at

 2   2.) Defendants disagree, noting that the discovery they seek is necessary and relevant to

 3   challenge a motion for conditional certification. (See Dkt. No. 323 at 3–5.) In this instance, the

 4   Court finds that Defendants have the better argument.

 5          “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

 6   party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). If requested discovery is not answered, the

 7   requesting party may move for an order compelling such discovery. Fed. R. Civ. P. 37(a)(1). If a

 8   party fails to comply with a discovery order, the district court may also sanction that party
 9   accordingly. Fed. R. Civ. P. 37(b)(2). The Court has broad discretion to decide whether to
10   compel disclosure of discovery. Phillips ex rel. Estates of Byrd v. General Motors Corp., 307
11   F.3d 1206, 1211 (9th Cir. 2002).
12          While the Court agrees with Plaintiffs that it would be premature to determine what a
13   requisite sample size of opt-in Plaintiffs may be, that does not negate Defendants’ need for some
14   discovery prior to conditional certification. And Defendants, by limiting their request to
15   discovery from six opt-in Plaintiffs, do not impose an undue burden on the as-of-yet to-be-
16   determined population of opt-in Plaintiffs.
17          Accordingly, Defendants’ motion to compel discovery (Dkt. No. 300) is GRANTED.
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19          DATED this 30th day of July 2024.




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                                                           John C. Coughenour
23                                                         UNITED STATES DISTRICT JUDGE
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26     Only then, according to Plaintiffs, would the number of opt-in Plaintiffs be ascertainable, such
     that the parties could then determine what a representative sample may look like, for purposes of
     then seeking discovery. (See Dkt. No. 316 at 10.)
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